Case 1:17-cr-20307-JEM Document 412 Entered on FLSD Docket 03/13/2018 Page 1 of 2


                         UN ITED STATES DISTRICT COURT FOR THE
                              SOU TH ERN D ISTIU CT O F FLO RIDA
                  C ase N um ber:17-20307-C R -M A RTlN EZ/O TA ZO -% Y ES

  UN ITED STA TES O F AM ER ICA ,

         Plaintiff,


  V EN CESS TOBY ,

         D efendant.


                 O R DE R A D O PTIN G R EPO R T A N D REC O M M EN D AT IO N S
                              O N C O U N SEL 'S CJA V O U C H ER

        TH IS CA U SE cam e before the Courtupon the Reportand Reeom m endation on Counsel's

 Firstlnterim VoucherFeesregardingCriminalJusticeActVoucher113C.0570245issuedbyUnited

 StatesM agistrateJudgeAliciaM .Otazo-ReyesonM arch12,2018(ECFNo.409j.M agistrateJudge
 Otazo-Reyes,recom m endsthatthisCourt,approve the CJA V oucher113C .0570245 and thatScott

 W .Sakin,Esq.bepaid atotalsum of$10,286.87.Thepartieswere afforded theopportunityto file

 objectionstotheReportandRecommendations,howevernoneweretiled.
        Accordingly,the Courthasconsidered the Reportand Recomm endation,thepertinentparts

 ofthe record,forthe reasons stated in the R eportof the M agistrate Judge,and upon independent

 review ofthe file and being otherwise fully advised in thepremises,itis

        O RD ER ED A N D A D JU DG ED thatu nited StatesM agistrateJudgeA liciaM .O tazo-Reyes's

 Reportand Recommendations(ECFNo.4091,isherebyADOPTED and AFFIRM ED.
        DONE AND ORDERED inChambersatMiami,Florida,this (3 dayofMarch,2018.

                                                                .
                                                                    f
                                                    JO    .M ARTINEZ
                                                    1-% 1 D STA TES D ISTRICT JUD G E
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 Copiesprovided to:
 M agistrate Judge Otazo-Reyes
 ScottW .Sakin,Esq
 CJA Adm inistrator




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